      Case 3:19-cr-00160-L Document 77 Filed 11/05/19              Page 1 of 2 PageID 228


                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §          Criminal No: 3:19-CR-00160-L
                                                 §
 KOMLA DETSIKOU (1)                              §
 BRANDON PARRISH (2)                             §
 ERIC RAYSHUN PARRISH (3)                        §
 ANTONIO WILLIAMS, JR (4)                        §
 LAMARCUS JERMAINE PARRISH (5)                   §


                                   ORDER RESETTING TRIAL

        Before the court is Brandon Parrish’s Unopposed Motion for Continuance of Trial and

Pretrial Deadlines (Doc. 76), filed October 31, 2019. The Government and Co-Defendants do not

oppose the motion. Upon consideration of the motion, and the applicable law, and in accordance

with the findings set forth below, the court determines that the motion should be and is hereby

granted.

        Defendant Parrish requests an additional continuance of at least 90 days because the parties

are still in the process of obtaining new discovery after the filing of a Superseding Indictment,

which included 15 additional counts. In accordance with 18 U.S.C. § 3161(h)(7)(A) and (B)(iv),

the court finds that the ends of justice served by granting the motion outweigh the best interest of

the public and Defendants in a speedy trial. In this regard, the court has considered factors that

indicate that failure to grant the motion would deny counsel for Defendants the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence. Therefore,

any period of delay resulting from the court’s granting the motion for continuance shall be



Order Resetting Trial – Page 1
    Case 3:19-cr-00160-L Document 77 Filed 11/05/19                Page 2 of 2 PageID 229


excluded in computing the time within which the trial of this cause must commence under 18

U.S.C. § 3161.

        Accordingly, the current trial setting of February 11, 2020 is hereby vacated, and this case

is reset for trial on Tuesday, July 28, 2020, at 9:00 a.m. No further continuances will be

granted unless there are exceptional or extraordinary circumstances.

        The following revised scheduling order is issued for all above-named Defendants:

        Motion Deadline: March 27, 2020, at 4:00 p.m.

        Motion Response Deadline: April 10, 2020, at 4:00 p.m.

        Replies: No replies to any motion may be filed without leave of court.

        Trial Setting: Tuesday, July 28, 2020, at 9:00 a.m.

The court’s response-to-motion deadline is the date listed only if the motion is filed on the

motion deadline; otherwise, the response should be filed in accordance with the court’s Local

Rules of Criminal Procedure.

        All other portions of the court’s original Criminal Trial Scheduling Order remain in effect.

        It is so ordered this 5th day of November, 2019.




                                              _________________________________
                                              Sam A. Lindsay
                                              United States District Judge




Order Resetting Trial – Page 2
